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                  IN THE UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


 FATHIA HAOUASS,
            Plaintiff
 vs.                                                    No. 1:22-cv-00855-RP
 TERRY TURNER,
            Defendant




                              SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16, the following Scheduling
Order is issued by the Court.

       1.       A report on alternative dispute resolution in compliance
                with Local Rule CV-88 shall be filed on or before July 3,
                2023.

       2.       The parties asserting claims for relief shall submit a written
                offer of settlement to opposing parties on or before May 1,
                2023, and each opposing party shall respond, in writing, on or
                before May 8, 2023. All offers of settlement are to be private,
                not filed. The parties are ordered to retain the written offers
                of settlement and responses so the Court may use them in
                assessing attorney’s fees and costs at the conclusion of the
                trial.

       3.       Each party shall complete and file the attached “Notice
                Concerning Reference to United States Magistrate Judge”
                on or before January 27, 2023




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4.   The parties shall file all motions to amend or supplement
     pleadings or to join additional parties on or before February
     1, 2023

5.   All parties asserting claims for relief shall file their designation
     of testifying experts and serve on all parties, but not file, the
     materials required by Federal Rule of Civil Procedure
     26(a)(2)(B) on or before April 3, 2023. Parties resisting claims
     for relief shall file their designation of testifying experts and
     serve on all parties, but not file, the materials required by
     Federal Rule of Civil Procedure 26(a)(2)(B) on or before May
     1, 2023. All parties shall file all designations of rebuttal
     experts and serve on all parties the material required by
     Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal
     experts, to the extent not already served, 15 days from the
     receipt of the report of the opposing expert.

6.   An objection to the reliability of an expert’s proposed
     testimony under Federal Rule of Evidence 702 shall be made
     by motion, specifically stating the basis for the objection and
     identifying the objectionable testimony, within 30 days from
     the receipt of the written report of the expert’s proposed
     testimony, or within 30 days from the completion of the
     expert’s deposition, if a deposition is taken, whichever is
     later.

7.   The parties shall complete all discovery on or before July 3,
     2023

8.   All dispositive motions shall be filed on or before August 4,
     2023 and shall be limited to 20 pages. Responses shall be

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      filed and served on all other parties not later than 14 days
      after the service of the motion and shall be limited to 20
      pages. Any replies shall be filed and served on all other
      parties not later than 7 days after the service of the response
      and shall be limited to 10 pages, but the Court need not wait
      for the reply before ruling on the motion.

9.    The Court will set this case for final pretrial conference at a
      later time. The final pretrial conference shall be attended by
      at least one of the attorneys who will conduct the trial for
      each of the parties and by any unrepresented parties. The
      parties should consult Local Rule CV-16(e) regarding
      matters to be filed in advance of the final pretrial conference.

10.   This case is set for ______________ trial commencing at 9:00
      a.m. on ___________________________________________,
      20________. By filing an agreed motion, the parties may
      request that this Court extend any deadline set in this
      Order, with the exception of the dispositive motions’
      deadline and the trial date. The Court may impose
      sanctions under Federal Rule of Civil Procedure 16(f) if the
      parties do not make timely submissions under this Order.

It is so ORDERED.

SIGNED on this                day of                     , 2022.




                                             HON. JUDGE ROBERT PITMAN




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